 ~AO 2458       (Rev. 12/03) Judgment in. Crimin.1 C.~~
     NeED       Shee! I



                                           UNITED STATES DISTRICT COURT
                          Eastern                                      District of                               North Carolina
            UNTTED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V,

                                                                               Case Number: 7:0S-CR-6S-5F
               DERMOT D. SPENCE
                                                                               USM Nwnber:16380-067

                                                                               JAMES KOUSOUROS, J. KEATING WILES
                                                                               Defendant's Attorney
THE DEFENDANT:
lJ ple~llcd guiliy Lo count(s)
o pleaded nolo contendere to cDunt(s)
    which was accepted by the court.
.e'J W,i, found guilty on eourtt(s)      ONE AND THREE - OF THE SUPERSEDING INDICTMENT
    atter a plea of not guilty.

The defendant is adjudicated guilty of these offcnses:

Title & Sccti liD                                Nature of Offense                                                    Offense Ended        Count
21 U.S.C. § 846                                   Conspiracy to Distribute and Possess With the Intenl to              6116/2008            18
                                                  Distribute More Than 100 Kilograms 01 Marijuana

21 U.SC. § 841 (a)(1)                             Dlstrlbutlon & Possession With the Intent to Distribute More         5/15/2008           35
and H1 US.C. § 2                                  Than 100 Kilograms of Marijuana & Aiding and Abetting


       The defendant is sentenced liS provided in pages 2 through                     7       of this judgment. The sentcnce is imposed pUl'suant to
the Sentencing Reform Act of 1984.
.e'J The defendant ha~ been found not guilty on count(s)                        TWO - OF THE SUPERSEDING INDICTMENT

o   Count(s)
                ----------- Dis                                        o are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States pttomey fOT this district within 30 days of any change ofnamc, residence,
or mai ling address until all fines, restitution, costs, and special assessments imposcd by this j\ldgrnent are fully paid. Ifordered to pay restitlltion,
the defenClant mllst notify the court and United States attorney of material changes in economIC circ\\mstances.

 sentencing Location:                                                          8/4/2010
    WILMINGTON, NORTH CAROLINA                                                 Date of [mpo,ition of Judgmenl



                                                                              #J:ort:e~
                                                                                JAMES C, FOX, SENIOR U.S. DISTRICT JUDGE
                                                                               Name and Tille of Judge


                                                                               8/4/2010
                                                                               Date




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AO 245B       (Rev. 12/03) Judgment in Criminal Case
   NeED       Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   _2",,-_ of   7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

COUNT 1 - 63 months
COUNT 3 - 63 months
TERMS SHALL RUN CONCURRENTLY

  t5' The court makes the following recommendations to the Bureau of Prisons:
THE COURT RECOMMENDS THE DEFENDANT BE IMPRISONED AT A FACILITY NEAR HARRISBURG, PA.
FURTHER, THE COURT RECOMMENDS THE DEFENDANT RECEIVE DRUG TREATMENT DURING INCARCERATION.



  ~ The defendant is remanded to the custody of the United States Marshal.
  o The defendant shall surrender to the United States Marshal for this district:
    o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.rn. on
    o as notified by the United States Marshal.
  o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          cIIJ before p.m. on
          olJ as notified by the United States Marshal.              Or

          o     as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

a~                                                     , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                             By ------:::'~~~~~~:'77:~~----­
                                                                                       DEPUTY UNITED STATES MARSHAL




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AO 245B      (Rev. 12/03) Judgment in a Criminal Case
   NeED      Sheet 3 - Supervised Release

                                                                                                         Judgment-Page   --:L..- of           7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     5 YEARS on each count, concurrently
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of PrIsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

O       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
        substance abuse.
~       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
~       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o student,
  The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     I f this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
 I.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
        complete written report within the first five (5) days of each month.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.      The defendant shall support the defendant's dependents and meet other family responsibilities.
5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
        acceptable reasons.
6.      The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possessl use distribute, or administer any controlled
        substance, or any paraphernalia related to any controlled substance, except as prescribed oy a physician.
8.      The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
        places specified by the court.
9.      The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
        a felony unless granted permission to do so by the probation officer.
 10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in p1ain view by the probation officer.
 II. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
 12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court.
 13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics, and shaIl permIt the probation officer to make such notifications and to confirm
     the defendant's compliance with such notification requirement.




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A024SB    (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 3C - Supervised Release
                                                                                           Judgment-Page   --A.- of          7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F

                                        SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
 probation officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to
 determine compliance with the conditions of this judgment.

 Upon completion of the term of imprisonment, the defendant is to be surrendered to a duly-authorized immigration official
 for deportation in accordance with established procedures provided by the Immigration and Naturalization Act, 8 U.S.C. §
 1101. As a further condition of supervised release, if ordered deported, the defendant shall remain outside the United
 States.




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AD 2458      (Rev. 12/03) Judgment in a Criminal Case
  NeED       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment -    Page   _..::5:......_ of   7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F
                                                       CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                                                               Restitution
TOTALS               $ 200.00                                              $                                  $


 D   The detennination of restitution is deferred until
     after such detennination.
                                                               --- . An Amended Judgment in a Criminal Case (AO 245C) will be entered
 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paId.

 Name of Payee                                                                 Total Loss*         Restitution Ordered          Priority or Percentaee




                                     TOTC-'Ac.:=L""S                   _                  $0.00                        $0.00


 00 Restitution amount ordered pursuant to plea agreement $
 DO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fuJi before the
      fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 o The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
          D the interest requirement is waived for the              D fine     D restitution.
          D the interest requirement for the             D   fine     D restitution is modified as follows:


 • Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.



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AD 2458    (Rev. 12103) Judgment in a Criminal Case
    NeED   Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page   ---6....- of    7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      0   Lump sum payment of $                                 due immediately, balance due

           o not later than                                          , or
           o in accordance               o C,         0    D,    0     E, or     0 F below; or
B      0   Payment to begin immediately (may be combined with                  0 C,     0 D, or   0 F below); or
C      0   Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D      0   Payment in equal                     (e.g.• weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E      0   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~ Special instructions regarding the payment of criminal monetary penalties:

            The special assessment shall be due in full immediately.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in thc following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.



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AO 245B    (Rev. 12/03) Judgment in a Criminal Case
  NeED     Sheet 7 - Denial ofFederal Benefits

                                                                                                    Judgment - Page     7     of       7
DEFENDANT: DERMOT D. SPENCE
CASE NUMBER: 7:08-CR-68-5F
                                                  DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.c. § 862

      IT IS ORDERED that the defendant shall be:

Ii?! ineligible for all federal benefits for a period of          5 years

o ineligible for the following federal benefits for a period of
     (soecify benefit(s))




                                                                      OR
o Having detennincd that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be pennanently ineligible for all federal benefits.

 FOR DRUG POSS ESSORS PURSUANT TO 21 U.S.c. § 862(b)

     IT IS ORDERED that the defendant shall:

 o be ineligible for all federal benefits for a period of
 o be ineligible for the following federal benefits for a period of
     (specify benefit(s))




     o successfully complete a drug testing and treatment program.
     o     perfonn community service, as specified in the probation and supervised release portion of this judgment.

     o     Having detennined that this is the defendant's second or subsequent conviction for possession of a controlled substance, IT
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirem ent, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531




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